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                                      IN THE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  INDIANA STATE CONFERENCE                     )
  OF THE NATIONAL ASSOCIATION                  )
  FOR THE ADVANCEMENT OF                       )
  COLORED PEPOLE (NAACP) and                   )
  LEAGUE OF WOMEN VOTERS OF                    )
  INDIANA,                                     )
                                               )
                Plaintiffs,                    )
                      v.                       )   Civil Action No. 1:17-cv-02897-TWP-MPB
                                               )
  CONNIE LAWSON, et al.,                       )
                                               )
                Defendants.                    )

                               PERMANENT INJUNCTION

         The Court ISSUES A PERMANENT INJUNCTION prohibiting Defendants from

  implementing Ind. Code § 3-7-38.2-5.5(f) and from otherwise authorizing Indiana county


  voter registration officials to cancel any registration record of the Indiana registrant on

  the list of eligible voters because of a change in residence absent: (1) Defendants’ or Indi-


  ana county voter registration officials’ possession of a request or confirmation in writing

  directly from the registrant that authorizes the voter registration to be cancelled; or (2)

  Defendants or county voter registration officials complying with the NVRA-prescribed

  process of (a) notifying the registrant, (b) giving the registrant an opportunity to respond,

  and then (c) waiting until after two federal general elections to determine if the voter has

  voted or appeared to vote at any election conducted during that period at the address

  listed on the voter’s registration record.

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         For purposes of this order, a request or confirmation comes “directly from the reg-

  istrant” if the registrant personally generates the request or confirmation, even if that

  request or confirmation is received by Defendants or Indiana county voter registration

  officials from someone other than the registrant.

         Defendants shall give notice of the existence and terms of this injunction to Indiana

  county voter registration officials.




             DATE: 11/02/2021




  Distribution to all electronically
  Registered counsel of record via
  AM/ECF




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